                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2021-NCCOA-344

                                        No. COA20-520

                                       Filed 20 July 2021

     Durham County, No. 20 SPC 202

     IN THE MATTER OF: C.G.




           Appeal by Respondent from an Order entered 7 February 2020 by Judge

     Doretta Walker in Durham County District Court. Heard in the Court of Appeals 10

     March 2021.


           Attorney General Joshua H. Stein, by Assistant Attorney General Erin E.
           McKee, for the State.

           Appellate Defender Glenn Gerding, by Assistant Appellate Defender Katy
           Dickinson-Schultz, for respondent-appellant.


           HAMPSON, Judge.


                           Factual and Procedural Background

¶1         Respondent-Appellant C.G. (Respondent) appeals from an Involuntary

     Commitment Order entered in Durham County District Court declaring Respondent

     mentally ill, a danger to self and others, and ordering Respondent be committed to

     an inpatient facility for thirty days. The Record reflects the following:
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¶2         On 30 January 2020, Dr. Phillip Jones, with the Duke University Medical

     Center (Duke), signed an Affidavit and Petition for Involuntary Commitment stating

     Respondent: “presents [as] psychotic and disorganized . . . [Respondent’s] ACTT team

     being unable to stabilize his psychosis in the outpatient treatment. He is so psychotic

     he is unable to effectively communicate his symptoms and appears to have been

     neglecting his own care.” Dr. Jones also stated: “Per [Respondent’s] ACTT he threw

     away his medications and has not been taking them. He needs hospitalization for

     safety and stabilization.” This affidavit was filed on 31 January 2020 in the Durham

     County District Court and Dr. Jones submitted a First Examination for Involuntary

     Commitment report with the Affidavit. The report lists the exact same findings

     supporting commitment as the Affidavit.         On 31 January, a Durham County

     magistrate issued a Findings and Custody Order finding Respondent was mentally

     ill and a danger to self or others. Respondent was subsequently delivered to Duke’s

     24-hour facility.

¶3         That same day, Dr. Miles Christensen, also with Duke, signed a 24-Hour

     Facility Exam for Involuntary Commitment report; the report was filed on 3 February

     2020. In this report, Dr. Christensen concluded Respondent was mentally ill and a

     danger to self and others. In the description of findings supporting commitment, Dr.

     Christensen noted, when asked about his goals for hospitalization, Respondent

     replied: “I don’t know, 30, 40, 50 pounds probably.”         Dr. Christensen stated
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     Respondent said he would like to gain weight while he was in the hospital. Dr.

     Christensen further noted: “Patient perseverates on being ‘Blessed and highly

     favored’ . . . Talks to other people in the room during interview . . . States ‘gods people

     putting voices in my head’ ” and “[s]uddenly begins crying without any precipitant.”

¶4          On 7 February 2020, the trial court heard Respondent’s case pursuant to N.C.

     Gen. Stat. § 122C-268.        At the outset, Respondent’s counsel objected to the

     proceedings because there was no representative for the State present. Respondent’s

     counsel stated, “the judge, on its own initiate---or volition, cannot conduct the

     business of the State and these proceedings to move forward.”             The trial court

     responded:

               Because it sounds like the DA’s office is refusing to do anything,
               and then it sounds like the Attorney General’s office is refusing
               to do anything, and Duke and the VA are private and/or federal
               entities; therefore, they can’t. So you’re suggesting we do nothing
               and not have these cases at all as a result of people failing to do
               their duty? . . . I’m not gonna do that.

¶5          Respondent’s counsel continued:

               Additionally, beyond that issue, I would argue that, in this case,
               the paperwork was also improper . . . based on 122C-281 and 285,
               in that while there is an allegation that [Respondent] is an
               individual with a mental illness and dangerous to himself, the
               description of findings in both the first examination and the
               examination done by the 24-hour facility does not allege facts
               that would be sufficient pursuant to the statute to--to meet those
               criteria and what is contained therein is more conclusory, and
               according to In Re: Reid and In Re: Ingram [phonetic spellings],
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                the Court of Appeals has held that conclusory statements are not
                sufficient in the description of findings to proceed in that.

     The trial court stated: “Okay. That’s gonna be denied.”

¶6         The hearing continued and the trial court asked if any witnesses were present

     in this case. The trial court called Dr. Max Schiff, also with Duke, to the witness

     stand. Respondent’s counsel objected as Dr. Schiff was not the doctor who completed

     or signed either of the evaluation or reports in this case. The trial court overruled

     the objection and noted, “if [Dr. Schiff] doesn’t know anything about this case, you

     can keep making your objection and we will go from there.”

¶7         The trial court stated to Dr. Schiff: “you or someone in your organization has

     indicated that [Respondent] has a mental illness and is a danger to himself and

     others, and I will leave you to tell me whether or not you can give me enough evidence

     on this to go forward.” Dr. Schiff responded: “So, yes. [Respondent] has a long-

     standing history of mental illness with psychosis. He currently carries a diagnosis of

     schizoaffective disorder, for which he’s been treated since his late teens.” Dr. Schiff

     continued to explain Respondent had been brought to Duke by “his ACT team”

     because of “an acute change in his mental status with increasing disorganization,

     hallucinations, delusions, abnormal psychomotor behavior, wandering around the

     streets” and because “he had not been taking his medications and had thrown them

     away[.]”
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¶8             Dr. Schiff also stated: “On my evaluation . . . [Respondent] continued to

     demonstrate very profound disorganization of thought and behavior responding to

     hallucinations or internal stimuli”; that it was “very difficult to elucidate a narrative

     from [Respondent]”; and that Respondent was “reporting that thoughts were being

     inserted into his head and occasionally controlling him, as well as containing

     derogatory content that was quite disturbing to him.” The trial court interjected: “I’m

     sorry. Say -- I didn’t quite get the last thing you said. You said some kind of behavior

     and then you said disturbing?” Dr. Schiff clarified that Respondent heard voices in

     his head and that some of the content was derogatory and disturbing to Respondent.

     Dr. Schiff testified Respondent was compliant with treatment while at Duke but that

     “[Respondent] has stated he does not feel that he really needs the medication, nor

     does he have a long-standing issue.” Dr. Schiff continued: “Although he is accepting

     of help and has improved,” Dr. Schiff was “still concerned that, if he were to be

     discharged, that there would be an immediate decompensation, given his . . .

     hallucinations which are disturbing and to him and, in the past, have led him to have

     aggressive behaviors in the community.”

¶9             After questioning by the trial court, Respondent’s counsel questioned Dr.

     Schiff.    When Respondent’s counsel asserted Dr. Schiff was not the doctor who

     completed Respondent’s first examination, Dr. Schiff responded that he was not but

     that he was present for the second examination and was Respondent’s attending
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       physician since the second examination. Respondent’s counsel asked Dr. Schiff if

       Respondent had an “ACT team” that was able to assist Respondent when he was not

       in the hospital. Dr. Schiff replied: “That’s right . . . but they felt that . . . they could

       no longer support him in the community based on his level of disorganization and

       decompensation[.]” Dr. Schiff testified that he was not aware of any prior suicide

       attempts by Respondent, but that Respondent had exhibited “aggressive behavior”

       and been subject to assaults in the past. Dr. Schiff further testified Respondent had

       improved and was taking his medication while at Duke, but Dr. Schiff was concerned

       Respondent would decompensate if discharged especially because Respondent’s ACT

       team—who would normally encourage Respondent to take his medication—felt it

       could not support Respondent in the community.

¶ 10          After Dr. Schiff testified, Respondent took the stand.              Counsel asked

       Respondent with whom Respondent lived. Respondent replied: “My brother and my

       friend. My -- he’s my brother first, but he’s my friend second. . . . And his best friend,

       which is my roommate, which is my brother.” Respondent also testified that he had

       previously “gotten into it” with a man named William on the street when William

       became angry. Respondent stated he thought William had an anger management

       problem. However, Respondent said he had never thought of harming William.

       Respondent stated he had been taking his medication and would continue to do so if

       discharged, but that he could not “tell the difference” when asked if he thought the
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       medication was helping him.      Respondent also stated that his ACT team and

       Easterseals could provide him assistance if discharged, but that his ACT team

       wanted him to “take care of [his] teeth more,” and Respondent “just disregarded it.”

       Respondent also testified he did not eat “three meals a day,” but that “they have

       started to give me at least breakfast” and he was “gonna have to eat more.” When

       counsel asked Respondent if he would like to be released from Duke, he replied: “I see

       her ankles and Amy -- the Amy at Williams Ward -- Williams Ward remind me of my

       mom’s ankles, and she takes her water pills in the morning. I remind her.” Counsel

       then asked if Respondent was okay.

¶ 11         After questioning by Respondent’s counsel, the trial court asked Respondent:

       “Your ACT team, tell me about what they do to help you.” Respondent testified he

       would see his ACT team on Monday, Wednesday, and Thursday and that Fridays

       were for group substance abuse meetings. Respondent stated he went to group

       sessions “once in a blue” and that he received a bus ticket every time he went. He

       also stated Easterseals gave him weekly checks that he used to buy groceries. The

       trial court asked: “So right before they took you to the hospital, what was going on?”

       Respondent said, “I don’t . . . everything was the same, you know?” When the trial

       court asked “[s]o you don’t know why they took you there?” Respondent replied, “No,

       not really. I’m just there to eat and drink.” The trial court asked Respondent about

       the hallucinations Dr. Schiff said Respondent had experienced; Respondent replied:
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       “I see angels, white dots.” The trial court asked: “You see angels?” Respondent

       explained he saw white dots and black dots floating in the air. The trial court asked

       how the angels made Respondent feel. Respondent replied he knew the white dots

       were angels and that the black dots might be hallucinations or “negativity.”

¶ 12         The trial court asked Respondent if he felt better when he was in the hospital

       or when he was not. Respondent replied that he had “bad habits.” The trial court

       asked Respondent to tell the trial court about his bad habits. Respondent stated he

       smoked cigarettes and marijuana. Respondent continued:

                I pick up Black &amp; Mild filters that’s wooden. . . . I clean up
                cigarette butts. I have picked up a piece of glass . . . in our
                apartment that was right there in the corner near our trash can,
                but I didn’t vacuum the floor over there in that area. I try.

       The trial court asked: “You try?” Respondent replied: “Yes.”

¶ 13         After Respondent’s counsel gave closing arguments, the trial court found “by

       clear, cogent, and convincing evidence that the Defendant, in fact, has a mental issue

       of illness that is schizoaffective disorder and has a long-standing history of mental

       illness since his late teens.” The trial court further found Respondent: suffered from

       hallucinations and disorganized thoughts; was “noncompliant with his medication

       when” not in the hospital; and was a danger to himself and others due to his active

       psychosis. The trial court continued: “[Respondent’s] ACT team initially had him

       committed, as they are unable to see to his needs” and that “[Respondent] was unable
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       to sufficiently care for his needs, that being dental and his nourishment needs.”

       Moreover, the trial court found, “[Respondent] has, in fact become a victim of

       assaultive behavior and disturbing thoughts, which caused deterioration and leaves

       him unable to perceive dangers to himself[.]” Accordingly, the trial court ordered

       Respondent be committed for an additional thirty days. Respondent’s counsel gave

       oral Notice of Appeal in open court.

¶ 14         That same day, the trial court entered its written Order. The trial court

       checked a box incorporating the examination reports signed by Dr. Jones and Dr.

       Christensen as Findings of Fact supported by clear, cogent, and convincing evidence.

       The trial court found by clear, cogent, and convincing evidence the following

       additional Findings of Fact: Respondent had long-standing mental illness dating back

       to his teens; Respondent suffered from hallucinations; Respondent did not take his

       medication when he was not hospitalized; Respondent’s psychosis caused him to be a

       danger to himself; Respondent’s ACT team was “unable to sufficiently take care” of

       Respondent’s dental and nourishment needs; and Respondent had been the victim of

       assaults and disturbing thoughts “which cause deterioration and leaves [Respondent]

       unable to perceive dangers to himself[.]”      Accordingly, the trial court concluded

       Respondent was mentally ill and was dangerous to himself and to others.

       Consequently, the trial court ordered Respondent committed for thirty days.

                                               Issues
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¶ 15         The issues on appeal are: (I) whether this Court should exercise its discretion

       and allow Respondent’s appeal when Respondent’s counsel did not file a written

       notice of appeal as required by our Rules of Appellate Procedure; (II) whether the

       trial court violated Respondent’s due process right to an impartial tribunal by calling

       and examining a witness in order to elicit evidence, in the absence of any

       representative of the State; and (III) whether the trial court erred in incorporating

       examination reports as Findings of Fact when the reports were not formally admitted

       into evidence and trial, and whether, absent those reports, the trial court’s underlying

       Findings of Fact were supported by competent evidence and, in turn, supported its

       ultimate Findings Respondent was dangerous to himself and to others.

                                              Analysis

                                           I. Jurisdiction

¶ 16         Recognizing Respondent’s trial counsel never filed a written Notice of Appeal,

       Respondent’s appellate counsel has filed, concurrently with Respondent’s brief, a

       Petition for Writ of Certiorari with this Court to allow review of the trial court’s

       Order.

¶ 17         Respondents in involuntary commitment actions have a statutory right to

       appeal a trial court’s order. N.C. Gen. Stat. § 122C-272 (2019) (“Judgment of the

       district court [in involuntary commitment cases] is final. Appeal may be had to the

       Court of Appeals by the State or by any party on the record as in civil cases.”). Rule
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       3 of our Rules of Appellate Procedure governs such appeals. N.C.R. App. P. 3(a)

       (2021) (“Any party entitled to appeal from a judgment or order of a superior or district

       court rendered in a civil action or special proceeding may take appeal by filing notice

       of appeal with the clerk of superior court[.]”). Rule 3 requires parties to file written

       notice of appeal thirty days after the entry of such a judgment or order. N.C.R. App.

       P. 3(a), (c) (2021). “Rule 3 is a jurisdictional rule” and “a party’s compliance with Rule

       3 is necessary to establish appellate jurisdiction[.]” Am. Mech., Inc. v. Bostic, 245

       N.C. App. 133, 143, 782 S.E.2d 344, 350 (2016). “[A] jurisdictional rule violation . . .

       precludes the appellate court from acting in any manner other than to dismiss the

       appeal.” Id. at 142, 782 S.E.2d at 350 (citation and quotation marks omitted). Thus,

       in the absence of a properly filed notice of appeal, this Court has no jurisdiction to

       consider Respondent’s appeal as of right.

¶ 18         However, Rule 21 of our Rules of Appellate Procedure provides: “[t]he writ of

       certiorari may be issued in appropriate circumstances by either appellate court to

       permit review of the judgments and orders of trial tribunals when the right to

       prosecute an appeal has been lost by failure to take timely action[.]” N.C.R. App. P.

       21(a)(1) (2021); see also N.C. Gen. Stat. § 7A-32(c) (2019). Respondent concedes his

       counsel did not file written notice of appeal, but, because counsel objected to the

       proceedings and gave oral Notice of Appeal in open court, asks this Court to exercise

       its discretion and issue a writ of certiorari to review his case. Because Respondent’s
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       counsel objected to the proceedings and demonstrated at least the intent to appeal

       the trial court’s order, and because involuntary commitment is a significant incursion

       to one’s liberty interests, Humphrey v. Cady, 405 U.S. 504, 509, 31 L. Ed. 2d 394
       (1972), we grant Respondent’s Petition and review the trial court’s Order.

¶ 19         Additionally, although neither party argues this case is moot because the

       period of commitment has expired, discharge from involuntary commitment does not

       render an appeal moot. “The possibility that respondent’s commitment in this case

       might likewise form the basis for a future commitment, along with other obvious

       collateral legal consequences, convinces us that this appeal is not moot.” In re Moore,

       234 N.C. App. 37, 41, 758 S.E.2d 33, 36 (2014) (citation and quotation marks omitted).

       Accordingly, Respondent’s appeal is properly before this Court.

                                       II. Impartial Tribunal

¶ 20         Respondent argues the trial court violated his due process right to an impartial

       tribunal because the State was not represented by counsel and the trial court elicited

       evidence in favor of committing Respondent. The due process right to an impartial

       tribunal raises questions of constitutional law that we review de novo. Dorsey v.

       UNC-Wilmington, 122 N.C. App. 58, 66, 468 S.E.2d 557, 562 (1996). “In order to

       preserve an issue for appellate review, a party must have presented to the trial court

       a timely request, objection, or motion, stating the specific grounds for the ruling the

       party desired the court to make if the specific grounds were not apparent from the
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       context.” N.C.R. App. P. Rule 10(a)(1) (2021). Although Respondent’s counsel did not

       expressly state an objection on constitutional grounds, it is apparent from the context

       Respondent objected on due process grounds as counsel objected to the nature of the

       proceedings where there was no counsel for the State present and where the trial

       court was the only entity to elicit evidence on direct examination.

¶ 21             N.C. Gen. Stat. § 122C-268 provides for how both a respondent and the State

       are to be represented in an involuntary commitment proceeding. N.C. Gen. Stat. §

       122C-268(d) mandates a “respondent shall be represented by counsel of his choice; or

       if he is indigent within the meaning of G.S. 7A-450 or refuses to retain counsel if

       financially able to do so, he shall be represented by counsel appointed in accordance

       with rules adopted by the Office of Indigent Defense Services.” N.C. Gen. Stat. §

       122C-268(d) (2019). As to representation of the State’s interests, the statute has

       separate provisions depending on whether the proceeding arises out of a state facility

       or not:

                    The attorney, who is a member of the staff of the Attorney
                    General assigned to one of the State’s facilities for the mentally
                    ill or the psychiatric service of the University of North Carolina
                    Hospitals at Chapel Hill, shall represent the State’s interest at
                    commitment hearings, rehearings, and supplemental hearings
                    held for respondents admitted pursuant to this Part or G.S. 15A-
                    1321 at the facility to which he is assigned.

                    In addition, the Attorney General may, in his discretion,
                    designate an attorney who is a member of his staff to represent
                    the State’s interest at any commitment hearing, rehearing, or
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                 supplemental hearing held in a place other than at one of the
                 State’s facilities for the mentally ill or the psychiatric service of
                 the University of North Carolina Hospitals at Chapel Hill.

       N.C. Gen. Stat. § 122C-268(b) (2019).1

¶ 22          The State takes the position that the latter provision means the Attorney

       General has complete discretion whether or not to appear in involuntary commitment

       proceedings at non-state-owned facilities and, thus, involuntary commitment

       proceedings at private hospitals may proceed without the State’s interests being

       represented, as occurred in this case. We express no opinion on the correctness of the

       State’s statutory interpretation or as to the soundness of such practice. However, our

       Court has previously rejected arguments respondent’s due process rights were

       violated in involuntary commitment proceedings where the State, as petitioner, was

       not represented by counsel and where:

                 [t]he gravamen of [respondent’s] contention is (1) that he was
                 denied a fair hearing because, due to absence of counsel for
                 petitioner, the court acted as petitioner’s de facto counsel; and (2)
                 that he was denied equal protection of the law because petitioners
                 in hearings at state regional psychiatric facilities are represented
                 by counsel, G.S. 122-58.7(b), -58.24, while petitioners in hearings
                 held elsewhere are not.



              1 In addition: “If the respondent’s custody order indicates that he was charged with a

       violent crime, including a crime involving an assault with a deadly weapon, and that he was
       found incapable of proceeding, the clerk shall give notice of the time and place of the hearing
       as provided in G.S. 122C-264(d). The district attorney in the county in which the respondent
       was found incapable of proceeding may represent the State’s interest at the hearing.” N.C.
       Gen. Stat. § 122C-268(c) (2019).
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       In re Perkins, 60 N.C. App. 592, 594, 299 S.E.2d 675, 677 (1983). There, this Court

       noted: “We are aware of no per se constitutional right to opposing counsel. Nothing

       in the record indicates language or conduct by the court which conceivably could be

       construed as advocacy in relation to petitioner or as adversative in relation to

       respondent.” Id. We reached the same conclusion in a companion case filed the same

       day as Perkins, rejecting the argument “it is unconstitutional to allow the trial judge

       to preside at an involuntary commitment hearing and also question witnesses at the

       same proceeding.” In re Jackson, 60 N.C. App. 581, 584, 299 S.E.2d 677, 679 (1983).

       Therefore, because our Court has previously upheld involuntary commitments where

       the State has not appeared and where the trial court has questioned witnesses and

       elicited evidence, we are bound by our prior precedent to conclude the same. See In

       re Civil Penalty, 324 N.C. 373, 384, 379 S.E.2d 30, 37 (1989) (“Where a panel of the

       Court of Appeals has decided the same issue, albeit in a different case, a subsequent

       panel of the same court is bound by that precedent, unless it has been overturned by

       a higher court.”).

¶ 23         Moreover, “[j]udges do not preside over the courts as moderators, but as

       essential and active factors or agencies in the due and orderly administration of

       justice. It is entirely proper, and sometimes necessary, that they ask questions of a

       witness[.]” State v. Hunt, 297 N.C. 258, 263, 254 S.E.2d 591, 596 (1979) (citation and

       quotation marks omitted). However, trial courts must be careful to avoid prejudice
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       to the parties and may not impeach a witness’s credibility. State v. Howard, 15 N.C.

       App. 148, 150-51, 189 S.E.2d 515, 517 (1972) (citation omitted).2

¶ 24          In this case, as in Perkins, the Record does not evince language or conduct by

       the trial court that could be construed as advocacy for or against either petitioner or

       Respondent. Here, the trial court called Dr. Schiff to testify. The trial court’s only

       questions of Dr. Schiff on direct examination were: “you or someone in your

       organization has indicated that [Respondent] has a mental illness and is a danger to

       himself and others, and I will leave you to tell me whether or not you can give me

       enough evidence on this to go forward[;]” and “I’m sorry. Say -- I didn’t quite get the

       last thing you said. You said some kind of behavior and then you said disturbing?”

¶ 25          The trial court asked Respondent: “Your ACT team, tell me about what they

       do to help you[;]” “So right before they took you to the hospital, what was going on?”;




              2   We note that, although involuntary commitment cases involve significant
       curtailment of individual liberty interests, these proceedings are not adversarial in the
       respect that the State seeks to convict and incarcerate a respondent for allegedly violating
       the criminal code. Rather, these proceedings are inquisitorial as to whether a respondent is
       a danger to self or to others. Cf. Ramirez-Barker v. Barker, 107 N.C. App. 71, 78, 418 S.E.2d
       675, 679 (1992) (“However, there is no burden of proof on either party on the ‘best interest’
       [of a child in child custody cases] question. Although the parties have an obligation to provide
       the court with any pertinent evidence relating to the ‘best interest’ question, the trial court
       has the ultimate responsibility of requiring production of any evidence that may be competent
       and relevant on the issue. The ‘best interest’ question is thus more inquisitorial in nature
       than adversarial. (citation omitted)). As such, even though the trial court—at least initially—
       elicits a petitioner’s evidence, and, thus, facilitates a petitioner’s case at the outset, a trial
       court that maintains objectivity and does not prejudice either party does not advocate for a
       petitioner in an adversarial manner.
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       “[s]o you don’t know why they took you there?”; whether Respondent experienced

       hallucinations and saw angels; whether Respondent felt better when he was in the

       hospital or in the community; and “tell me about [Respondent’s bad habits].” As such,

       the trial court only elicited evidence that would otherwise be overlooked as no counsel

       for the State was present. The trial court did not ask questions meant to prejudice

       either party or impeach any witness. Accordingly, the trial court did not violate

       Respondent’s right to an impartial tribunal.

                                        III. Findings of Fact

¶ 26         Respondent also argues the trial court violated his confrontation rights by

       incorporating examination reports signed by Dr. Jones and Dr. Christensen in its

       Findings of Fact when the trial court did not admit the reports into evidence and

       where Dr. Jones and Dr. Christensen were not present to testify at the hearing.

       Consequently, according to Respondent, the trial court’s underlying Findings were

       insufficient to support its ultimate Findings Respondent was a danger to himself and

       to others.

                    A. Confrontation

¶ 27         “Certified copies of reports and findings of commitment examiners and

       previous and current medical records are admissible in evidence, but the respondent’s

       right to confront and cross-examine witnesses may not be denied.” N.C. Gen. Stat. §

       122C-268(f) (2019). The Record does not indicate the reports were ever formally
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       introduced at the hearing. As such, Respondent claims he never had a chance to

       properly object to their admission or confront the reports or the doctors who signed

       them, and the State argues Respondent waived his confrontation rights because he

       failed to object during the hearing.

¶ 28         Although the trial court never formally admitted the reports into evidence and,

       thus, Respondent did not object to the reports’ admission, the Record reflects

       Respondent’s counsel did object to the reports as insufficient bases for Respondent’s

       initial commitment. Moreover, Respondent’s counsel objected to Dr. Schiff testifying

       because he was not the doctor who completed and signed the examination reports.

       The trial court overruled the objection stating, “if he doesn’t know anything about

       this case, you can keep making your objection and we will go from there.” Because

       Respondent asserted his right to confront Dr. Jones and Dr. Christensen, as the

       doctors who completed and signed the examination reports, Respondent did not waive

       his confrontation rights. See In re J.C.D., 265 N.C. App. 441, 446, 828 S.E.2d 186,

       190 (2019) (“Since respondent did not object to admission of the report, and she did

       not assert her right to have Dr. Ijaz appear to testify, the trial court did not err by

       admitting and considering the report.”).         Therefore, the trial court erred by

       incorporating the reports as Findings of Fact in its Order.

¶ 29         However, even absent the reports, Dr. Schiff’s testimony and the trial court’s

       Findings were sufficient to support the trial court’s Order. See In re Benton, 26 N.C.
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       App. 294, 296, 215 S.E.2d 792, 793 (1975) (reversing the trial court’s order where the

       doctor, who signed an affidavit incorporated by the trial court, was not present to

       testify because “[n]o evidence, except for the [improperly admitted] affidavit, was

       adduced to show that the respondent was imminently dangerous to herself or

       others.”). Consequently, here, the trial court’s error was harmless. See State v.

       Ferguson, 145 N.C. App. 302, 307, 549 S.E.2d 889, 893 (2001) (“Evidentiary errors

       are harmless unless a defendant proves that absent the error a different result would

       have been reached at trial.”).

                 B. Sufficiency of the Evidence

¶ 30         “To support an inpatient commitment order, the court shall find by clear,

       cogent, and convincing evidence that the respondent is mentally ill and dangerous to

       self, . . . or dangerous to others . . . .” N.C. Gen. Stat. § 122C-268(j) (2019). Our

       General Statutes define dangerous to self and others as:

                 a. Dangerous to self.—Within the relevant past, the individual
                 has done any of the following:

                  1. The individual has acted in such a way as to show all of the
                  following:

                    I. The individual would be unable, without care, supervision,
                    and the continued assistance of others not otherwise available,
                    to exercise self-control, judgment, and discretion in the
                    conduct of the individual’s daily responsibilities and social
                    relations, or to satisfy the individual’s need for nourishment,
                    personal or medical care, shelter, or self-protection and safety.
                                              IN RE C.G.

                                           2021-NCCOA-344

                                          Opinion of the Court



                    II. There is a reasonable probability of the individual’s
                    suffering serious physical debilitation within the near future
                    unless adequate treatment is given pursuant to this Chapter.
                    A showing of behavior that is grossly irrational, of actions that
                    the individual is unable to control, of behavior that is grossly
                    inappropriate to the situation, or of other evidence of severely
                    impaired insight and judgment shall create a prima facie
                    inference that the individual is unable to care for himself or
                    herself.

                    ....

                 b. Dangerous to others.—Within the relevant past, the individual
                 has inflicted or attempted to inflict or threatened to inflict serious
                 bodily harm on another, or has acted in such a way as to create a
                 substantial risk of serious bodily harm to another, or has engaged
                 in extreme destruction of property; and that there is a reasonable
                 probability that this conduct will be repeated. Previous episodes
                 of dangerousness to others, when applicable, may be considered
                 when determining reasonable probability of future dangerous
                 conduct. Clear, cogent, and convincing evidence that an
                 individual has committed a homicide in the relevant past is prima
                 facie evidence of dangerousness to others.

       N.C. Gen. Stat. § 122C-3(11) (2019).

¶ 31         Thus, the trial court must satisfy two prongs when finding a respondent is a

       danger to self or others on any of the bases above: “A trial court’s involuntary

       commitment of a person cannot be based solely on findings of the individual’s ‘history

       of mental illness or . . . behavior prior to and leading up to the commitment hearing,’

       but must [also] include findings of ‘a reasonable probability’ of some future harm

       absent treatment[.]” In re J.P.S., 264 N.C. App. 58, 62, 823 S.E.2d 917, 921 (2019)

       (citing In re Whatley, 224 N.C. App. 267, 273, 736 S.E.2d 527, 531 (2012)). “Although
                                              IN RE C.G.

                                           2021-NCCOA-344

                                          Opinion of the Court



       the trial court need not say the magic words ‘reasonable probability of future harm,’

       it must draw a nexus between past conduct and future danger.” Id. at 63, 823 S.E.2d

       at 921.

¶ 32         It is the role of the trial court to determine whether the evidence of a

       respondent’s mental illness and danger to self or others rises to the level of clear,

       cogent, and convincing. In re Whatley, 224 N.C. App. at 270-71, 736 S.E.2d at 530
       (citation omitted). “Findings of mental illness and dangerousness to self are ultimate

       findings of fact.” In re B.S., 270 N.C. App. 414, 417, 840 S.E.2d 308, 310 (2020) (citing

       In re Collins, 49 N.C. App. 243, 246, 271 S.E.2d 72, 74 (1980)). On appeal, “[t]his

       Court reviews an involuntary commitment order to determine whether the ultimate

       findings of fact are supported by the trial court’s underlying findings of fact and

       whether those underlying findings, in turn, are supported by competent evidence.”

       B.S., 270 N.C. App. at 417, 840 S.E.2d at 310 (citing In re W.R.D., 248 N.C. App. 512,

       515, 790 S.E.2d 344, 347 (2016)). As such, the trial court must also record the facts

       that support its “ultimate findings[.]” Whatley, 224 N.C. App. at 271, 736 S.E.2d at

       530. “If a respondent does not challenge a finding of fact, however, it is presumed to

       be supported by competent evidence and [is] binding on appeal.” Moore, 234 N.C.

       App. at 43, 758 S.E.2d at 37 (citation and quotation marks omitted).

¶ 33         Here, Respondent does not challenge the trial court’s ultimate Finding he was

       mentally ill. Respondent challenges the trial court’s ultimate Findings he was a
                                              IN RE C.G.

                                           2021-NCCOA-344

                                          Opinion of the Court



       danger to himself and to others. Because we conclude the trial court properly found

       Respondent was a danger to himself, we do not reach the issue of whether he was a

       danger to others.

¶ 34         As to whether Respondent was a danger to himself, Respondent challenges the

       trial court’s underlying Findings Respondent could not “take care of his nourishment

       and dental needs” because, according to Respondent, these Findings were not

       supported by the testimony.        However, the trial court heard testimony from

       Respondent that his ACT team wanted him to take better care of his teeth and that

       Respondent “disregarded” that advice. Respondent also told the trial court he needed

       to eat more, and that his ACT team was able to provide him “at least one meal” at

       breakfast. But, Dr. Schiff testified that Respondent’s ACT team brought Respondent

       to Duke’s attention because the team felt like it could no longer care for Respondent

       in the community. Therefore, there was some competent evidence as to Respondent’s

       inability to care for his own nourishment and dental needs. It is the trial court’s role,

       and not this Court’s role, to determine whether this evidence rises to the level of clear,

       cogent, and convincing. Whatley, 224 N.C. App. at 270-71, 736 S.E.2d at 530. Thus,

       these underlying Findings satisfied the first prong requiring the trial court find

       Respondent was unable to care for himself.

¶ 35         The trial court’s Finding Respondent’s ACT team was unable to “sufficiently”

       care for Respondent’s “dental and nourishment” needs also created the nexus between
                                               IN RE C.G.

                                            2021-NCCOA-344

                                           Opinion of the Court



       Respondent’s mental illness and future harm to himself. Accordingly, the trial court

       satisfied the requirement it find a reasonable probability of future harm absent

       treatment.

¶ 36          Moreover, the trial court heard testimony from Dr. Schiff that, while under Dr.

       Schiff’s care, Respondent experienced hallucinations and stated “thoughts were being

       inserted to his head and occasionally control[ed] him.” Dr. Schiff testified these

       hallucinations and disturbing thoughts had led to Respondent “wandering the

       streets” and being assaulted in the past and that Respondent would decompensate if

       discharged. Respondent confirmed he saw “angels” and “black dots” he thought were

       hallucinations.    Dr. Schiff also testified Respondent said he did not need his

       medication and did not think he had a long-standing issue. “A showing of behavior

       that is grossly irrational, of actions that the individual is unable to control, . . . or of

       other evidence of severely impaired insight and judgment shall create a prima facie

       inference that the individual is unable to care for himself or herself.” N.C. Gen. Stat.

       § 122C-3(11)(a)(1)(II) (2019) (emphasis added). Here, the trial court heard evidence

       of actions Respondent was unable to control and of Respondent’s severely impaired

       insight as to his own condition. As such, the evidence supported the prima facie

       inference Respondent could not care for himself. Consequently, the trial court did

       not err in finding Respondent was a danger to himself.

                                              Conclusion
                                      IN RE C.G.

                                   2021-NCCOA-344

                                  Opinion of the Court



¶ 37   For the foregoing reasons, we affirm the trial court’s Order.

       AFFIRMED.

       Judge DILLON concurs in a separate opinion.

       Judge GRIFFIN dissents in a separate opinion.
        No. COA20 – 520 In re: C.G.


             DILLON, Judge, concurring.


¶ 38         I fully concur in the majority opinion and its reasoning. I write separately to

       expound on two issues.

                                      I. Due Process Concerns

¶ 39         First, as noted in the majority opinion, the calling/questioning of Dr. Schiff by

       the trial court, where the State’s interest was not represented at the hearing, was not

       a per se constitutional violation. An involuntary commitment hearing is civil in

       nature, the purpose of which is to determine whether an individual is a danger to self

       or others such that (s)he needs to be further evaluated/treated; the matter is not

       criminal in nature. The State typically does not instigate the process. Rather, the

       process is instigated by a concerned private citizen – typically a doctor or a guardian.

       And while the State has the right to have its interests represented at the hearing, the

       State is not required to have representation.

¶ 40         The individual respondent, whose liberty interests are at issue, has

       constitutional rights, such as to counsel, to present evidence, to cross-examine

       witnesses, and to an impartial judge; however, the individual does not have the

       constitutional right to have the State’s interests represented at the hearing. As noted

       in the majority opinion, our Court has so held in the context of involuntary

       commitment hearings, and we are so bound to hold. See, e.g., In re Perkins, 60 N.C.

       App. 592, 594, 299 S.E.2d 675, 677 (1983).
                                               IN RE: C.G.
                                            2021-NCCOA-344
                                          DILLON, J., concurring



¶ 41          It may be that the Attorney General’s Office simply did not have the resources

       or the desire to appear. However, this decision does not divest the trial court from

       the ability to seek the truth concerning a petition, to determine whether a respondent

       is a danger to self or others.

¶ 42          Further, the respondent’s constitutional rights are not violated simply because

       the trial court calls the person (typically the petitioner) who has appeared at the

       hearing and to question that witness, so long as the trial court remains impartial in

       its search for the truth. Indeed, our Rules of Evidence allow for the trial court to call

       witnesses and question them. N.C. Gen. Stat. § 8C-1, Rule 614(b) (2020). Our

       Supreme Court has described this principle, that “the trial judge may interrogate a

       witness for the purpose of developing a relevant fact . . . in order to ensure justice and

       aid [the fact-finder] in their search for a verdict that speaks the truth.” State v.

       Pearce, 296 N.C. 281, 285, 250 S.E.2d 640, 644 (1979). That Court has further held

       that it is not a per se constitutional violation for the trial court to exercise its right to

       call or question witnesses. State v. Quick, 329 N.C. 1, 21-25, 405 S.E.2d 179, 192-93
       (1991). And our Court has held that it is not per se prejudicial for a judge to question

       a witness, even where the answer provides the sole proof of an element which needs

       to be proved. See State v. Lowe, 60 N.C. App. 549, 552, 299 S.E.2d 466, 468 (1983);

       see also State v. Stanfield, 19 N.C. App. 622, 626, 199 S.E.2d 741, 744 (1973).
                                             IN RE: C.G.
                                           2021-NCCOA-344
                                         DILLON, J., concurring



¶ 43            Other state courts held similarly. For instance, the Indiana Court of Appeals

       held that there was no violation of due process when the presiding judge called and

       questioned witnesses during an involuntary commitment hearing where the State

       was unrepresented. In re Commitment of A.W.D., 861 N.E.2d 1260, 1264 (Ind. App.

       2007).

¶ 44            A Florida appellate court has held that the calling and questioning of the

       witness by the judge due to the absence of any attorney representing the State’s

       interest was harmless and that the respondent’s constitutional rights were not

       violated based on the procedure. Jordan v. State, 597 So.2d 352, 353 (Fla. App. 1992).

       However, that same year, that same court – though recognizing Jordan as good law

       – held that the due process rights of another respondent were violated when the trial

       judge called and questioned the petitioning doctor. Jones v. State, 611 So.2d 577, 580-

       81 (Fla. App. 1992). The Jones court so held, though, not because the State was not

       represented at the hearing. Rather, the court so held because the treating doctor did

       not provide testimony sufficient to support the trial court’s subsequent order for

       involuntary placement. Id. at 580. Perhaps the doctor would have provided sufficient

       testimony in that case had the State’s attorney been present to ask more probing

       questions. But a trial court is more limited, from a due process perspective, in its

       questioning, as the judge may not appear to be advocating to reach a particular result.

                                       II. Evidentiary Concerns
                                            IN RE: C.G.
                                         2021-NCCOA-344
                                       DILLON, J., concurring



¶ 45         Second, I appreciate the dissent’s concern regarding the trial court’s

       incorporation of the reports of doctors who had examined Respondent in the past but

       who did not testify. However, all the evidence which the trial court relied on to make

       its ultimate findings was supported by the testimony of either Dr. Schiff, whom

       Respondent’s counsel was allowed to cross-examine, or of Respondent himself. And,

       as noted by the majority, the trial court stated at the outset that it was concerned

       that any evidence supporting a commitment order needed to come from Dr. Schiff

       based on what he knew and not from the opinions of doctors who had drafted the

       reports based on their prior examinations. Dr. Schiff had conducted the most recent

       evaluation of Respondent and was the current doctor caring for him.
        No. COA20-520 – In re C.G.


             GRIFFIN, Judge, dissenting.


¶ 46         In this case, an individual was deprived of his liberty by an officer of the court

       who, after expressing some reluctance, offered and admitted evidence against that

       individual, called an adverse witness to testify on his adversary’s behalf, and

       examined that witness to elicit the State’s evidence. I therefore cannot conclude that

       Respondent received a full and fair hearing before a neutral officer of the court, as is

       his right under Article I, Section 19, of the North Carolina Constitution and the

       Fourteenth Amendment of the United States Constitution. Additionally, the majority

       holds that, although the trial court erred by incorporating into its findings of fact

       examination reports written by physicians who did not testify at the hearing, the trial

       court’s error was harmless. I would hold that this assignment of error was not

       preserved for appellate review, as Respondent was deprived of the opportunity to

       object to the reports’ admission, making preservation of this argument for appellate

       review impossible under N.C. R. App. P. 10(a)(1).

                                          I.   Analysis

¶ 47         Respondent argues that he was deprived of his right to an impartial tribunal

       because, in the absence of representation for the State, the trial judge impermissibly

       “present[ed] the State’s evidence in support of [the State’s] claim” and called and

       questioned the State’s witness on its behalf. I agree.

¶ 48         The trial court violated Respondent’s right to due process by (1) offering and

       admitting examination reports into evidence without the knowledge of Respondent
                                              IN RE C.G.

                                           2021-NCCOA-344

                                         GRIFFIN, J., dissenting



       or his counsel; (2) depriving Respondent of his opportunity to object to the reports it

       offered and admitted; and (3) calling and examining the State’s witness on the State’s

       behalf. Each of these errors are discussed below in turn.

       A. Offering and Admitting the Examination Reports

¶ 49         “A judge’s impartiality . . . implicates both federal and state constitutional due

       process principles.” State v. Oakes, 209 N.C. App. 18, 29, 703 S.E.2d 476, 484 (2011)

       (citing Tumey v. Ohio, 273 U.S. 510, 523 (1927)). The Fourteenth Amendment of the

       United States Constitution provides that no state “shall . . . deprive any person of life,

       liberty, or property, without due process of law.” U.S. Const. amend. XIV, § 1. The

       Law of the Land Clause contained in Article I, Section 19, of the North Carolina

       Constitution “guarantees to the litigant in every kind of judicial proceeding the right

       to an adequate and fair hearing before an impartial tribunal, where he may contest

       the claim set up against him, and . . . meet it on the law and the facts and show if he

       can that it is unfounded.” In re Edwards’ Estate, 234 N.C. 202, 204, 66 S.E.2d 675,

       677 (1951) (citations omitted); see also Rhyne v. K-Mart Corp., 358 N.C. 160, 180, 594

       S.E.2d 1, 15 (2004) (“The term ‘law of the land’ as used in Article I, Section 19, of the

       Constitution of North Carolina, is synonymous with ‘due process of law’ as used in

       the Fourteenth Amendment to the Federal Constitution.” (citation omitted)).

¶ 50         In cases where an individual’s “claim or defense turns upon a factual

       adjudication,” as here, “the constitutional right of the litigant to an adequate and fair
                                              IN RE C.G.

                                           2021-NCCOA-344

                                        GRIFFIN, J., dissenting



       hearing requires that he be apprised of all the evidence received by the court and given

       an opportunity to test, explain, or rebut it.” In re Gupton, 238 N.C. 303, 304-05, 77

       S.E.2d 716, 717-18 (1953) (emphasis added) (citations omitted); see also State v.

       Gordon, 225 N.C. 241, 246, 34 S.E.2d 414, 416 (1945) (“‘The basic elements’ of a fair

       and full hearing on the facts ‘include the right of each party to be apprised of all the

       evidence upon which a factual adjudication rests, plus the right to examine, explain

       or rebut all such evidence[.]’” (quoting Carter v. Kubler, 320 U.S. 243, 247 (1943)));

       Biddix v. Rex Mills, Inc., 237 N.C. 660, 663, 75 S.E.2d 777, 780 (1953) (“In a judicial

       proceeding the determinative facts upon which the rights of the parties must be made

       to rest must be found from . . . evidence offered in open court . . . . Recourse may not

       be had to records, files, or data not thus presented to the court for consideration.”).

       Our Supreme Court has previously held that “manifestly there is no hearing in any

       real sense when the litigant does not know what evidence is received and considered

       by the court.” Edwards’ Estate, 234 N.C. at 204, 66 S.E.2d at 677.

¶ 51         In this case, the trial court considered as evidence examination reports written

       by two physicians who did not testify at the hearing. Critically, the trial court never

       offered the reports into evidence in open court, nor did it make any ruling on the

       reports’ admissibility as evidence. Respondent was thus not “apprised of all the

       evidence received by the court and given an opportunity to test, explain, or rebut it[,]”

       in accordance with his constitutional right to a full and fair hearing on the facts.
                                            IN RE C.G.

                                          2021-NCCOA-344

                                       GRIFFIN, J., dissenting



       Gupton, 238 N.C. at 304-05, 77 S.E.2d at 717-18. Instead, the trial court unilaterally

       offered the reports as evidence in the State’s stead, admitted them as evidence, and

       proceeded to incorporate the evidence into its findings of fact. All of this occurred

       without the knowledge of Respondent or his counsel. Such a practice cannot comport

       with the bedrock procedural safeguards demanded by our State and federal

       constitutions. It is a basic guarantee of due process that every litigant be informed

       of the evidence considered by the court. In re Gibbons, 245 N.C. 24, 29, 95 S.E.2d 85,

       88 (1956) (“The basic and fundamental law of the land requires that parties litigant

       be given an opportunity to be present in court when evidence is offered in order that

       they may know what evidence has been offered[.]”).

       B. Opportunity to Object

¶ 52         Respondent was also deprived of an opportunity to object to the admission of

       the reports as required to preserve the issue of their admissibility for appellate

       review.

¶ 53         N.C. Gen. Stat. § 122C-268(f) provides that “[c]ertified copies of reports and

       findings of commitment examiners and previous and current medical records are

       admissible in evidence, but the respondent’s right to confront and cross-examine

       witnesses may not be denied.” N.C. Gen. Stat. § 122C-268(f) (2019). It follows that

       an examination report authored by a physician who does not appear to testify at trial

       is normally inadmissible as evidence. In re Hogan, 32 N.C. App. 429, 432-33, 232
                                             IN RE C.G.

                                           2021-NCCOA-344

                                        GRIFFIN, J., dissenting



       S.E.2d 492, 494 (1977). However, this Court has held that a respondent must “object

       to admission of the report” or “assert her right to have [the physician who authored

       the report] appear to testify” at trial in order to preserve the issue of the report’s

       admissibility for appellate review under N.C. R. App. P. 10(a)(1). In re J.C.D., 265

       N.C. App. 441, 446, 828 S.E.2d 186, 190 (2019).

¶ 54         As noted by the majority, “the trial court never formally admitted the reports

       into evidence and, thus, Respondent did not object to the reports’ admission.”

       Nonetheless, the majority holds that the issue of the reports’ admissibility as evidence

       was adequately preserved by Respondent, reasoning that Respondent asserted his

       right to confront the two physicians who authored the reports:

                    Respondent’s counsel objected to Dr. Schiff testifying
                    because he was not the doctor who completed and signed
                    the examination reports. The trial court overruled the
                    objection stating, “if he doesn’t know anything about this
                    case, you can keep making your objection and we will go
                    from there.” Because Respondent asserted his right to
                    confront Dr. Jones and Dr. Christensen, as the doctors who
                    completed and signed the examination reports, Respondent
                    did not waive his confrontation rights. See In re J.C.D., 265
                    N.C. App. 441, 446, 828 S.E.2d 186, 190 (2019) (“Since
                    respondent did not object to admission of the report, and
                    she did not assert her right to have Dr. Ijaz appear to
                    testify, the trial court did not err by admitting and
                    considering the report.”).

¶ 55         The majority does not explain how Respondent managed to assert his right to

       confront Dr. Jones and Dr. Christensen by lodging an objection to the admissibility
                                             IN RE C.G.

                                           2021-NCCOA-344

                                        GRIFFIN, J., dissenting



       of Dr. Schiff’s testimony. Considering the context in which the objection was made,

       along with the trial court’s ruling in response, Respondent’s objection was clearly

       based on the grounds that Dr. Schiff lacked the personal knowledge necessary to

       provide admissible testimony. See N.C. Gen. Stat. § 8C-1, Rule 602 (2019) (“A witness

       may not testify to a matter unless evidence is introduced sufficient to support a

       finding that he has personal knowledge of the matter. Evidence to prove personal

       knowledge may, but need not, consist of the testimony of the witness himself.”). The

       trial court made it clear that it understood this to be the grounds for Respondent’s

       objection when it ruled on the objection, stating “if [Dr. Schiff] doesn’t know anything

       about this case, you can keep making your objection and we will go from there.” This

       ruling can hardly be interpreted as a ruling made in response to a party asserting his

       right to confront two witnesses who were not present at the hearing.

¶ 56         The majority also notes that “the Record reflects Respondent’s counsel did

       object to the reports as insufficient bases for Respondent’s initial commitment.” This

       specific objection was directed at whether the reports were sufficient “to establish

       reasonable grounds for the issuance of [the original] custody order” by the magistrate.

       See In re Reed, 39 N.C. App. 227, 229, 249 S.E.2d 864, 866 (1978). Given that this

       objection was made on specific grounds wholly unrelated to the admissibility of the

       reports as evidence at the district court hearing or Respondent’s right to

       confrontation, it cannot extend to preserve the issue at bar for appellate review. See,
                                              IN RE C.G.

                                           2021-NCCOA-344

                                         GRIFFIN, J., dissenting



       e.g., Powell v. Omli, 110 N.C. App. 336, 350, 429 S.E.2d 774, 780 (1993) (“A specific

       objection that is overruled is effective only to the extent of the grounds specified.”

       (citation omitted)).

¶ 57         Respondent was deprived of his opportunity to object to the admissibility of the

       reports as evidence. I would therefore hold that his argument regarding the reports’

       admissibility is not preserved for appellate review under N.C. R. App. P. 10(a)(1). As

       discussed above, however, the trial court deprived Respondent of his constitutional

       right to an impartial tribunal by offering the reports into evidence, admitting them

       as evidence, and incorporating them into its findings of fact. The trial court also

       violated Respondent’s right to due process by depriving him of his opportunity to

       object to the admissibility of the reports, and thus depriving him of the opportunity

       to have the question of the reports’ admissibility reviewed on appeal.

       C. Calling and Examining the State’s Witness

¶ 58         The trial court impermissibly assumed the role of Respondent’s adversary by

       calling and examining the State’s witness on the State’s behalf. “A commitment order

       is essentially a judgment by which a person is deprived of his liberty, and as a result,

       he is entitled to the safeguard of a determination by a neutral officer of the court . . .

       just as he would be if he were to be deprived of liberty in a criminal context.” Reed,

       39 N.C. App. at 229, 249 S.E.2d at 866 (citation omitted). This Court has previously

       held that, because a commitment order involves a deprivation of liberty, a trial judge
                                             IN RE C.G.

                                           2021-NCCOA-344

                                        GRIFFIN, J., dissenting



       may not “assume[] the role of prosecuting attorney [by] examining the State’s

       witnesses” on its behalf during “juvenile proceedings that could lead to detention.” In

       re Thomas, 45 N.C. App. 525, 526, 263 S.E.2d 355, 355 (1980).

¶ 59         This Court’s decision in Thomas involved a juvenile proceeding in which the

       respondent was represented by counsel but where “[t]he State was not represented

       by the District Attorney or other counsel.” Id. at 526, 263 S.E.2d at 355. In the

       absence of counsel for the State, “the trial judge examined all three witnesses” on the

       State’s behalf. Id. Although the record on appeal did “not reveal that [the trial judge]

       asked leading questions or was otherwise unfair during the course of the hearing[,]”

       this Court held that the respondent’s right to due process was violated because “the

       judge, at least technically, assumed the role of prosecuting attorney in examining the

       State’s witnesses.” Id.
¶ 60         Here, the trial judge similarly called and examined the State’s witness on the

       State’s behalf.   The judge did not ask any “leading questions[,]” nor was she

       “otherwise unfair during the course of the hearing.” Id. Nonetheless, as this Court

       reasoned in Thomas, the “dual role of judge and prosecutor” simply cannot “measure

       up to the essentials of due process and fair treatment” in a proceeding where an

       individual’s physical liberty is at stake. Id. at 527, 263 S.E.2d at 356.

¶ 61         Although this Court’s opinion in Thomas involved a civil commitment order in

       the context of juvenile proceedings, “as in both proceedings for juveniles and mentally
                                          IN RE C.G.

                                       2021-NCCOA-344

                                    GRIFFIN, J., dissenting



deficient persons [where] the state undertakes to act in parens patriae, it has the

inescapable duty to vouchsafe due process[.]” In re Watson, 209 N.C. App. 507, 516,

706 S.E.2d 296, 302 (2011) (citations omitted). Moreover, “the Due Process Clause

requires the Government in a civil-commitment proceeding to demonstrate by clear

and convincing evidence that the individual is mentally ill and dangerous.” U.S. v.

Jones, 463 U.S. 354, 362 (1983) (emphasis added) (citing Addington v. Texas, 441 U.S.

418, 426-27 (1979)); Foucha v. Louisiana, 504 U.S. 71, 76 (1992) (“[T]he State is

required by the Due Process Clause to prove by clear and convincing evidence the . . .

statutory preconditions to commitment[.]” (citation omitted)). The trial court thus

cannot relieve the State of its burden of proof by calling the State’s witnesses when

the State fails to prosecute its case.3




       3  The majority contends that involuntary commitment proceedings are not
“adversarial” but are instead “inquisitorial[,]” citing the “best interest” of a child in custody
cases as analogous to the nature of the inquiry in involuntary commitment proceedings.
However, caselaw clearly indicates that involuntary commitment proceedings are not only
adversarial in nature but are necessarily so as a matter of due process. See Vitek v. Jones,
445 U.S. 480, 485, 495-97 (1980) (holding that, because individuals “facing involuntary
[commitment] to a mental hospital are threatened with immediate deprivation of liberty . . .
and because of the inherent risk of a mistaken [commitment], the District Court properly
determined that” involuntary commitment “must be accompanied by adequate notice, an
adversary hearing before an independent decisionmaker, a written statement by the
factfinder of the evidence relied on and the reasons for the decision[,]” and independent
assistance provided to the respondent by the State (emphasis added)); Foucha, 504 U.S. at
81 (holding that Louisiana’s civil commitment statute did not comply with due process
because, pursuant to the statute, the respondent was not “entitled to an adversary hearing
at which the State must prove by clear and convincing evidence that he is demonstrably
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¶ 62          The majority holds that “because our Court has previously upheld involuntary

       commitments where the State has not appeared and where the trial court has

       questioned witnesses and elicited evidence, we are bound by our prior precedent to




       dangerous to the community”); Demore v. Kim, 538 U.S. 510, 550 (2003) (Souter, J.,
       concurring in part and dissenting in part) (noting that the Court in Foucha “held that
       Louisiana’s civil commitment statute failed due process because the individual was denied
       an ‘adversary hearing at which the State must prove by clear and convincing evidence that
       he is demonstrably dangerous to the community’” (quoting Foucha, 504 U.S. at 81)).

               Moreover, unlike in involuntary commitment proceedings where “the State is required
       by the Due Process Clause to prove by clear and convincing evidence the . . . statutory
       preconditions to commitment[,]” Foucha, 504 U.S. at 75, “there is no burden of proof on either
       party” when determining the “best interest” of a child in custody cases. Ramirez-Barker v.
       Barker, 107 N.C. App. 71, 78, 418 S.E.2d 675, 679 (1992), overruled on other grounds by
       Pulliam v. Smith, 348 N.C. 616, 501 S.E.2d 898 (1998). This distinction is critical; “[i]n cases
       involving individual rights, whether criminal or civil, the standard of proof at a minimum
       reflects the value society places on individual liberty.” Addington, 441 U.S. at 425 (1979).
       “The rule as to the burden of proof is important and indispensable in the administration of
       justice. It constitutes a substantial right of the party upon whose adversary the burden rests,
       and therefore it should be guarded carefully and rigidly enforced by the courts.” Skyland
       Hosiery Co. v. American Ry. Express Co., 184 N.C. 478, 480, 114 S.E. 823, 824 (1922).

              It is clear that the State may only “confine a mentally ill person if it shows ‘by clear
       and convincing evidence that the individual is mentally ill and dangerous[.]’” Foucha, 504
       U.S. at 80. “Here, the State has not carried that burden.” Id. The State’s burden of proof
       does not suddenly vanish when the State fails to prosecute its case. Id. Instead, the burden
       must be assumed by either the trial court or the respondent, or the case must be dismissed.
       The trial court cannot simultaneously bear the incompatible burdens of neutrality and proof
       without depriving litigants of the right to due process. Indeed, the burden of proof is
       inherently adversarial and unneutral. See Skyland Hosiery Co., 184 N.C. at 480, 114 S.E.
       823, 824. The trial court therefore necessarily deprived Respondent of his right to an
       impartial tribunal by prosecuting the State’s case in the State’s absence. See Upchurch v.
       Hudson Funeral Home, Inc., 263 N.C. 560, 567, 140 S.E.2d 17, 22 (1965) (“Every suitor is entitled
       by the law to have his cause considered with the cold neutrality of the impartial judge . . . . This
       right can neither be denied nor abridged.” (citations and internal quotation marks omitted)).
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       conclude the same.” In so holding, the majority relies exclusively on this Court’s

       decisions in In re Perkins, 60 N.C. App. 592, 299 S.E.2d 675 (1983), and In re Jackson,

       60 N.C. App. 581, 299 S.E.2d 677 (1983). Neither Perkins nor Jackson passed on the

       constitutional question we are being asked to decide.           Both cases involved

       constitutional challenges to the involuntary commitment statutes.          This Court

       disposed of both cases on the same grounds, holding that neither respondent could

       demonstrate standing sufficient to challenge the constitutionality of the statutes. See

       Perkins, 60 N.C. App. at 594, 299 S.E.2d at 677 (holding that the respondent failed

       “to show that he ha[d] been adversely affected by the involuntary commitment

       statutes as applied, and he therefore ha[d] no standing to challenge their

       constitutionality”); Jackson, 60 N.C. App. at 584, 299 S.E.2d at 679 (“A litigant who

       challenges a statute as unconstitutional must have standing. To have standing, he

       must be adversely affected by the statute. We find no prejudice to the respondent in

       the challenged portions of the statute. Thus, she has no standing to challenge their

       constitutionality.” (citations omitted)).

¶ 63         The majority’s reliance on Perkins and Jackson is misplaced for two reasons.

       First, “standing is a necessary prerequisite to a court’s proper exercise of subject

       matter jurisdiction[.]” Willowmere Community Assoc., Inc. v. City of Charlotte, 370

       N.C. 553, 563, 809 S.E.2d 558, 560 (2018) (citations and quotation marks omitted).

       By holding that the respondents in Perkins and Jackson lacked standing to challenge
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                                            GRIFFIN, J., dissenting



       the involuntary commitment statutes, this Court declined to decide the underlying

       constitutional question in both cases. Accordingly, Perkins and Jackson cannot stand

       for the proposition that the trial court’s conduct in this case complied with due process

       requirements.

¶ 64          Second, unlike in Perkins and Jackson, Respondent does not challenge the

       constitutionality of the involuntary commitment statutes as applied to him. He

       alleges that the trial court deprived him of his right to have his case decided by a

       neutral officer of the court when it presented the State’s case in the State’s absence.

       He does not argue that the involuntary commitment statutes unconstitutionally vest

       discretion in the State to either send a representative to pursue its interest in court

       or not. He argues that a trial judge’s absolute duty of impartiality cannot be waived

       without depriving litigants of their right to due process. 4




              4 Because Respondent does not raise a constitutional challenge to the involuntary

       commitment statutes on appeal, neither Perkins nor Jackson assists us in addressing the
       constitutional question raised by Respondent. For the same reason, the standing analyses
       in both cases are inapplicable in this case. Writing for our Supreme Court in Committee to
       Elect Dan Forest v. Employees Political Action Committee, 376 N.C. 558, 2021-NCSC-6,
       Justice Hudson delineated the key distinctions between the standing requirements under our
       State and federal constitutions. Among those distinctions is that, unlike the federal
       constitution, “the federal injury-in-fact requirement has no place in the text or history of our
       [State] Constitution” and is “inconsistent with the caselaw of this Court.” Id. ¶¶ 73-74. “[A]s
       a rule of prudential self-restraint,” however, our caselaw requires “a plaintiff to allege ‘direct
       injury’” before a court can “invoke the judicial power to pass on the constitutionality of a
       legislative or executive act.” Id. ¶ 73.
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       D. Discretion of the Attorney General

¶ 65          The State argues on appeal that N.C. Gen. Stat. § 122C-268(b) “specif[ies] that

       the Attorney General has discretion on whether to send a member of his staff to a

       hearing outside a State facility for the mentally ill.” Respondent does not challenge

       the Attorney General’s statutory authority to choose not to send a representative to

       represent the State in involuntary commitment proceedings involving non-State

       facilities. Respondent alleges that the trial court deprived him of his right to an

       impartial tribunal by presenting the State’s case in the State’s absence.

¶ 66          Nonetheless, in evaluating the adequacy of procedural protections afforded to

       an individual in a government proceeding, the due process inquiry under the federal

       constitution considers “the Government’s interest, including the function involved



                In cases where an individual is not challenging the constitutionality of a statute, as
       here, our caselaw only requires that the individual allege a legal injury in order to establish
       standing: “When a person alleges the infringement of a legal right arising under a cause of
       action at common law, a statute, or the North Carolina Constitution, . . . the legal injury itself
       gives rise to standing.” Id. ¶ 82. (emphasis added). This is because the “remedy clause [of
       our State Constitution] should be understood as guaranteeing standing to sue in our courts
       where a legal right at common law, by statute, or arising under the North Carolina
       Constitution has been infringed.” Id. ¶ 81 (emphasis in original) (citing N.C. Const. Art. I, §
       18, cl. 2).

               Here, Respondent alleges that he has the right pursuant to our State and federal
       constitutions to have his case decided by an impartial tribunal and that he was deprived of
       this right when the trial court prosecuted the State’s case in the State’s absence. Because
       Respondent does not challenge the involuntary commitment statutes as unconstitutional, his
       allegation of a legal injury “itself gives rise to standing.” Id. ¶ 82. Accordingly, none of this
       Court’s reasoning in Perkins or Jackson has any application to the constitutional concerns
       raised in this case.
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                                        GRIFFIN, J., dissenting



       and the fiscal and administrative burdens that the additional or substitute

       procedural requirement would entail.” Matthews v. Eldridge, 424 U.S. 319, 335
       (1976). While this is not a consideration under our State Constitution, “[a] judge’s

       impartiality . . . implicates both federal and state constitutional due process

       principles.” Oakes, 209 N.C. App. at 29, 703 S.E.2d at 484 (citing Tumey, 273 U.S. at

       523). Accordingly, it is helpful to address the State’s argument in order to thoroughly

       examine the due process concerns at issue in this case.

¶ 67         In “striking the appropriate due process balance” under the Fourteenth

       Amendment, “the Government’s interest, and hence that of the public, in conserving

       scarce fiscal and administrative resources is a factor that must be weighed.”

       Matthews, 424 U.S. at 347-48. N.C. Gen. Stat. § 122C-268(b) provides that

                    [t]he attorney, who is a member of the staff of the Attorney
                    General assigned to one of the State’s facilities for the
                    mentally ill or the psychiatric service of the University of
                    North Carolina Hospitals at Chapel Hill, shall represent
                    the State’s interest at commitment hearings, rehearings,
                    and supplemental hearings held for respondents admitted
                    pursuant to this Part or G.S. 15A-1321 at the facility to
                    which he is assigned.

                    In addition, the Attorney General may, in his discretion,
                    designate an attorney who is a member of his staff to
                    represent the State’s interest at any commitment hearing,
                    rehearing, or supplemental hearing held in a place other
                    than at one of the State’s facilities for the mentally ill or
                    the psychiatric service of the University of North Carolina
                    Hospitals at Chapel Hill.
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       N.C. Gen. Stat. § 122C-268(b) (2019). According to the language of the statute, the

       Attorney General has the discretion to choose whether to send a representative to

       pursue the State’s interest in cases where, as here, a respondent has been committed

       to a non-State facility.

¶ 68          It is clear that the statute has given the Attorney General discretion. There is

       no indication, however, that he is so lacking in administrative and financial resources

       that he is unable to send a member of his staff to represent the State’s interest at

       involuntary commitment proceedings. In recent years, the Attorney General has

       devoted immense State resources to national litigation in which North Carolinians

       have much less at stake than their constitutionally protected liberty interests. See,

       e.g., Complaint for Declaratory and Injunctive Relief, California v. Chao, No. 19-CV-

       02826 (D.D.C. Sept. 20, 2019) (joining other states’ attorneys general in suit seeking

       injunctive relief to allow California to set independent standards for vehicle

       emissions); Complaint for Declaratory and Injunctive Relief, New York v. Trump, No.

       20-CV-05770 (S.D.N.Y. July 24, 2020) (joining other states’ attorneys general in suit

       seeking to enjoin the Trump Administration from adding a citizenship questionnaire

       to the 2020 U.S. Census).

¶ 69          I do not question the Attorney General’s judgment in pursuing such claims.

       He has been elected by the citizens of North Carolina to make such decisions.

       Nonetheless, ensuring that North Carolina citizens’ due process rights are observed
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                                        GRIFFIN, J., dissenting



       prior to depriving them of their physical liberty is indisputably of paramount,

       steadfast importance. At a bare minimum, each of our branches of government must

       observe the constitutional rights guaranteed to the citizens of this State. These rights

       are not waivable by the Attorney General, the General Assembly, or this Court. The

       State’s interest in declining to have an individual represent its interest in this case

       must yield to the constitutionally guaranteed right that each individual has in having

       his cause heard by an impartial tribunal prior to being deprived of his physical

       liberty.

¶ 70          Finally, the instant case is one of several cases pending before this Court in

       which the respondents argue that they were deprived of their right to an impartial

       tribunal. In each proceeding, the Attorney General chose not to send a member of his

       Office to represent the State’s interest. It is apparent from the Record in this case

       that no one present at the proceeding, including the trial judge, was provided any

       explanation as to why a representative did not appear for the State. In response to

       Respondent’s objection for lack of representation for the State, the trial judge stated,

                    Because it sounds like the DA’s office is refusing to do
                    anything, and then it sounds like the Attorney General’s
                    office is refusing to do anything, and Duke and the VA are
                    private and/or federal entities; therefore they can’t.

                    So you’re suggesting we do nothing and not have these
                    cases at all as a result of people failing to do their duty?

                           ....
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¶ 71         I’m not gonna do that.

¶ 72          The Attorney General places North Carolina trial judges in an impossible

       situation by choosing to not send a representative to prosecute the State’s case at

       involuntary commitment proceedings.          The trial judge can either abandon her

       constitutional duty to remain impartial by prosecuting the State’s case in the State’s

       absence, or she can dismiss the commitment petition for lack of evidence to support

       commitment. The former has the effect of denying parties their constitutional right

       to a full and fair hearing before an impartial tribunal. The latter may prevent an

       individual suffering with mental illness from receiving the medical care he needs.

       This could be at the expense of his safety, or the safety of others. Regardless of which

       choice the trial judge makes, the result is a disservice to the respondents in these

       proceedings and to the citizens of this State.

                                        II.     Conclusion

¶ 73         The process of involuntary commitment necessarily involves “a massive

       curtailment of liberty.” Humphrey v. Cady, 405 U.S. 504, 509 (1972). “Whether the

       individual is mentally ill and dangerous to either himself or others and is in need of

       confined therapy turns on the meaning of the facts which must be interpreted by

       expert psychiatrists and psychologists.” Addington v. Texas, 441 U.S. 418, 429 (1979).

       “The medical nature of the inquiry, however, does not justify dispensing with due
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                                        GRIFFIN, J., dissenting



       process requirements[,]” as “[i]t is precisely the subtleties and nuances of psychiatric

       diagnoses that justify the requirement of adversary hearings.” Vitek v. Jones, 445

       U.S. 480, 495 (1980) (citation, internal quotation marks, and alteration in original

       omitted).

¶ 74         Each of the errors discussed above would not have occurred were Respondent

       afforded the transparent structure of an adversarial proceeding held in open court

       with all parties present. Each of the foregoing errors, standing alone, were enough

       to deprive Respondent of his constitutional right to an impartial tribunal.
